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                                        ORDERED.


         Dated: September 25, 2016




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:
                                                             Case No: 8:15-bk-08128-KRM
Todd William Mendenhall                                      Chapter 7
Felicia Ann Mendenhall

                 DEBTORS                       /

                             ORDER APPROVING APPLICATION
                            FOR COMPENSATION FOR REALTOR

          This cause came before the Court to consider the Trustee’s Application for Compensation
for Realtor (Application, Doc. No. 30) wherein the Trustee requests that the Court award fees to
BK Global Real Estate Services and Century 21 Beggins Enterprises (the Realtors) in the amount
of: $7,950.00, or 6% of the gross sale price from the proposed sale of the property located at
2501 Leslee Lake, St. Petersburg, FL 33713. The Court considered the Application and is
satisfied that the Application is well taken and should be approved.
Accordingly, it is
          ORDERED:
          The Application is approved and the Trustee is authorized to
          1. Pay BK Global Real Estate Services in the amount of up to $3,975.00 and pay
             Century 21 Beggins Enterprises in the amount of up to $3,975.00 for a total of up to
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           $7,950.00 or 6% of the total gross sales price from the sale of the property located at
           2501 Leslee Lake, St. Petersburg, FL 33713.
       2. Any sharing of the fees by the Realtors with a co-operating agent does not violate this
           Order.
       3. Such fees to be paid at closing without further Order from the Court.


Attorney, Richard M. Dauval, Esq. is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
